                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )       CASE NO. 3:11-00012
       v.                                    )
                                             )       JUDGE SHARP
[25] JAMES FARLEY                            )


                                            ORDER

       Pending before the Court is the United States’ Motion to Return James Farley to state custody

so that the defendant may address his pending charges in Stewart County. The defendant has now

been sentenced pursuant to his plea agreement in this case, a portion of which also relates to the

pending charges in Stewart County. The Court hereby grants the motion, and ORDERS defendant

James Farley returned to state custody by returning him to the custody of the Montgomery County

Sheriff’s Department which is where the United States Marshal’s Service took custody of him

pursuant to the federal writ issued in this case. The appropriate Stewart County authorities may

obtain the defendant from that jurisdiction to answer the Stewart County charges.

                              UGday of September, 2013.
       It is so ordered this ____



                                                     _________________________________
                                                     KEVIN H. SHARP
                                                     UNITED STATES DISTRICT JUDGE




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